Case: 6:09-cr-00016-KKC            Doc #: 1527 Filed: 10/17/13          Page: 1 of 4 - Page ID#:
                                             17172



                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                  SOUTHERN DIVISION
                                      AT LONDON

            UNITED STATES OF AMERICA,                     )
                                                          )       CRIMINAL NO. 6:09-16-KKC
                           Plaintiff,                     )
                   v.                                     )
                                                          )       OPINION AND ORDER
            WILLIAM E. STIVERS,                           )
                                                          )
                           Defendant.                     )


                                         ** ** ** ** ** **

            This matter is before the Court on the Motion for a Bill of Particulars filed by the

  Defendant William E. Stivers (DE 1402). For the following reasons, the motion will be

  denied.

            The Defendants are charged with various violations of federal law, all of which

  are related to their alleged participation in a vote-buying and vote-stealing scheme in

  Clay County, Kentucky that lasted from 2002 to 2007 and encompassed three election

  cycles – 2002, 2004, and 2006. There are now five Defendants in this matter scheduled

  for trial: Maricle, Douglas C. Adams, Charles Wayne Jones, William E. Stivers, and

  Freddy W. Thompson.

            Trial is scheduled to begin November 4, 2013. This will be the second trial of

  these Defendants. Their first trial occurred before U.S. District Judge Danny Reeves.

  After seven weeks, the jury found all of the Defendants guilty of all counts. The Sixth

  Circuit vacated the Defendants’ convictions finding that that the cumulative effect of

  various errors during the trial warranted a new trial. United States v. Adams, 722 F.3d
Case: 6:09-cr-00016-KKC          Doc #: 1527 Filed: 10/17/13              Page: 2 of 4 - Page ID#:
                                           17173



  788 (6th Cir. 2013). Judge Reeves recused from the matter and reassigned it to the

  undersigned. (DE 1311.)

         Following is a summary of the charges against each Defendant:

         Count Number                      Defendants Charged                Charge

         Count 1                  Maricle, Adams, Jones, Stivers,    Conspiracy to violate RICO
                                  Thompson                          under 18 U.S.C. § 1962(d)
         Count 2                  Maricle and Stivers                Instructing a grand jury witness
                                                                    to testify falsely in violation of 18
                                                                    U.S.C. § 1503
         Count 3                  Thompson                           Giving false grand jury testimony
                                                                    in violation of 18 U.S.C. § 1503
         Count 4                  Maricle, Jones, Stivers, and       Conspiracy to oppress voting
                                  Thompson                          rights of citizens under 18 U.S.C.
                                                                    § 241
         Count 5                  Maricle, Jones, Stivers, and       Conspiracy to buy votes in
                                  Thompson                          violation of 18 U.S.C. § 371 and
                                                                    42 U.S.C. § 1973i



         In Count One of the superseding indictment, all five Defendants are charged with

  conspiring to violate subsection (c) of the Racketeer Influenced and Corrupt

  Organizations Act (“RICO”) in violation of 18 U.S.C § 1962(d). Subsection (c) of the

  Act prohibits any person who is “employed by or associated with any enterprise engaged

  in, or the activities of which affect, interstate or foreign commerce, to conduct or

  participate, directly or indirectly, in the conduct of such enterprise's affairs through a

  pattern of racketeering activity . . . .” 18 U.S.C. § 1962(c).

         Thus, RICO regulates two kinds of enterprises: 1) enterprises engaged in

  interstate or foreign commerce; and 2) enterprises that engage in activities that affect

  interstate or foreign commerce.

         The indictment alleges that the Clay County Board of Elections is the RICO

  enterprise in this action. With his motion, Stivers asks the Court to order the government

  to file a bill of particulars “as to the manner and/or means by which the Clay County


                                                       2
Case: 6:09-cr-00016-KKC         Doc #: 1527 Filed: 10/17/13            Page: 3 of 4 - Page ID#:
                                          17174



  Board of Elections . . . ‘engaged in, and the activities of which, affected interstate

  commerce.’” (DE 1402.)

         “A bill of particulars is meant to be used as a tool to minimize surprise and assist

  defendant in obtaining the information needed to prepare a defense and to preclude a

  second prosecution for the same crimes . . . It is not meant as a tool for the defense to

  obtain detailed disclosure of all evidence held by the government before trial.” United

  States v. Salisbury, 983 F.2d 1369, 1375 (6th Cir.1993). The “accepted general rule is

  that if the indictment charges in general language all of the essential elements of the

  offense with sufficient certainty that it is not open to attack on the ground of being fatally

  infirm but fails to inform the accused with sufficient particularity of the charges against

  which he will have to defend at the trial, the remedy is to move for a bill of particulars.”

  United States v. Branan, 457 F.2d 1062, 1065 (6th Cir. 1972). “[T]he test in ruling on a

  motion for a bill of particulars is whether providing such details is necessary to the

  preparation of the defense and avoidance of prejudicial surprise.” United States v.

  Musick, 291 F. App’x 706, 724 (6th Cir. 2008)

         Stivers asks that the Court require the government to set forth “the manner /or

  means by which the Clay County Board of Elections . . . ‘engaged in, and the activities of

  which, affected interstate commerce.’” But the government is not required to set forth

  that information in the indictment. The indictment identifies the RICO enterprise, sets

  forth the Defendants’ alleged purposes in conspiring to violate RICO, explains the

  actions that the Defendants allegedly undertook to accomplish their purposes, and sets

  forth the dates that the alleged conspiracy took place. Further, it sets forth the elements of

  the RICO conspiracy charge and cites the statute.



                                                    3
Case: 6:09-cr-00016-KKC         Doc #: 1527 Filed: 10/17/13         Page: 4 of 4 - Page ID#:
                                          17175



           Assuming that the government alleges that the Clay County Board of Elections is

  the RICO enterprise in this action, the language of the RICO charge in the indictment

  sufficiently apprises the Defendants of the RICO charges to enable them to prepare for

  trial.

           Any confusion regarding the RICO charge is not caused by the language of the

  indictment. Instead, any confusion has arisen from the government’s arguments in their

  briefs that the Court should consider the activity of all of the Defendants – not just the

  Clay County Board of Elections – in determining whether the enterprise’s activities had a

  sufficient effect on interstate commerce. Thus, on October 11, 2013, the Court ordered

  the government to file a brief precisely defining the alleged RICO enterprise. The Court

  also ordered that, if the government now defines the RICO enterprise differently than it

  did in the indictment, it must address whether the Defendants were sufficiently notified of

  the RICO charge pending against them.

           The government’s response to the Court’s order should clarify whether it

  continues to define the RICO enterprise as the Clay County Board of Elections.

  Assuming that it does, the indictment sufficiently apprises the Defendants of the RICO

  charge against them.

           For all these reasons, the Court hereby ORDERS that the Motion for a Bill of

  Particulars filed by the Defendant William E. Stivers (DE 1402) is DENIED.

           Dated this 17th day of October, 2013.




                                                   4
